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 Fill in this information to identify your case:




 Debtor 2
 (Spouse, if filing) First Name

 United States Bankruptcy Court for the:

                                                                                                                                      nCheck if this is an
                                                                                                                            I ' -Li       amended filing
                                                                                                                   B       AcAvntsx


Official Form 103B
Application to Have the Chapter 7 Filing Fee Waived                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known).

 Part 1:             Tell the Court About Your Family and Your Family's Income



I. What is the size of your family?               Check all that apply:
   Your family includes you, your
   spouse, and any dependents listed        vou
   on Schedule J: Your Expenses                  LiYour spouse
   (Official Form 106J).
                                            ja       Your dependents
                                                                                 C
                                                                          How many dependents?             Total number of people


2. Fill in your family's average
   aionthly                                                                                                                     That person's average
                                                                                                                                monthly net income    -
     lrlutdc      spniise's incomc if                                                                                           (take-home pay)
     your spouse is living with you, even    Add your income and your spouse's income. Include the
     if your spouse is not filing.           value Cif known) of any non-cash governmental assistance      You
                                             that you receive, such as food stamps (benefits under the
     Do not include your spouse's            Supplemental Nutrition Assistance Program) or housing
     income if you are separated and         subsidies.
     your spouse is not filing with you.                                                                   Your spouse      +
                                             If you have already filled out Schedule I: Your Income, see
                                             line 10 of that schedule.

                                                                                                           Subtotal

                                             Subtract any non-cash governmental assistance that you
                                             included above.                                                                     $


                                                 Your family's average monthly net income                  Total



                                                                           Type of assistance
 3. Do you receive non-cash                          No
    governmental assistance?
                                                 12 Yes. Describe
                                            \,                                             C &A

 4. Do you expect your family's             kEiNo
    average monthly net income to
    increase or decrease by more than
                                                 LiYes. Explain
    10% during the next 6 months?


 5. Tell the court why you are unable to pay the filing fee in
    installments within 120 days. If you have some additional                                c_wrzok-11
    circumstances that cause you to not be able to pay your filing
    fee in installments, explain them.                                           Li\                       ot      K.547dck
                                                                                                    owd twett-r.1
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Debtor 1    Cgvo uso                        4\u,v,                                              Case number (,rknown)
             First Name     Middle Name          Last Name



 Part 2:      Tell the Court About Your Monthly Expenses

6. Estimate your average monthly expenses.
   Include amounts paid by any government assistance that you
   reported on line 2.
    If you have already filled out Schedule J, Your Expenses, copy
    line 22 from that form.

7. Do these expenses cover anyone             jJ No
   who is not included in your family
                                              111Yes. Identify who
   as reported in line 1?

8. Does anyone other than you
                                                     No
   regularly pay any of these
   expenses?
   If you have already filled out
                                              DYes. How much do you regularly receive as contributions? $                      monthly

   Schedule I: Your Income, copy the
   total from line 11.

 9. Do you expect your average                       No
    monthly expenses to increase or
                                              1- 1Yes. Explain
    decrease by more than 10% during
    the next 6 months?


 Part 3:      Tell the Court About Your Property


 If you have already filled out Schedule NB: Property (Official Form 106A/B) attach copies to this application and go to Part 4.


 10.How much cash do you have?
    Examples: Money you have in
    your wallet, in your home, and on         Cash:                         $
    hand when you file this application

 1i. Bank accounts and other deposits                                       Institution name:                                            Amount:
     of money?
    Examples: Checking, savings,
    money market, or other financial
                                              Checking account:                        1—c.'vorcq
                                                                                            '

    accounts; certificates of deposit;
    shares in banks, credit unions,
                                              Savings account:                        Lc*,‘NpL_
    brokerage houses, and other
    similar institutions. If you have
    more than one account with the
                                              Other financial accounts:
                                                                                  NO{
    same institution, list each. Do not
    include 401(k) and IRA accounts.
                                              Other financial accounts:
                                                                                  N({
 12.Your home? (if you own it outright or
    are purchasing it)                                                                                            Current value:
                                              Number         Street
    Examples: House, condominium,                                                                                 Amount you owe
    manufactured home, or mobile home         City                                  State        ZIP Code         on mortgage and
                                                                                                                  liens:
 13.Other real estate?
                                                                                                                  Current value:
                                              Number         Street
                                                                                                                  Amount you owe
                                                                                                                  on mortgage and
                                              City                                  State        ZIP Code         liens:

 14.The vehicles you own?                     Make:          M4_94 e9\\                                           Current value:
    Examples: Cars, vans, truLks,             Model:         Cov\\ 'c\\
    sports utility vehicles, motorcycles,
    tractors, boats
                                              Year:           20 05                                               Amount you owe
                                              Mileage           0          \-1                                    on liens:

                                              Make:
                                              Model:                                                              Current value:
                                              Year.                                                               Amount you owe
                                              Mileage                                                             on liens:




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Debtor 1                                                                                       Case number (ir known)


15.Other assets?                           Describe the other assets:
                                                                                                                 Current value:
    Do not include household items
    and clothing.                                                                                                Amount you owe
                                                                                                                 on liens:


16.Money or property due you?              Who owes you the money or property?                   How much is owed? Do you believe you will likely receive
                                                                                                                   payment in the next 180 days?
    Examples: Tax refunds, past due
    or lump sum alimony, spousal                                                                                            FIN°
    support, child support,
    maintenance, divorce or property                                                                                        0 Yes. Explain:
    settlements, Social Security
    benefits, workers' compensation,
    personal injury recovery



  Part 4:      Answer These Additional Questions


 17. Have you paid anyone for
     services for this case, including
                                         1-FN0
                                           n
                                                  Yes. Whom did you pay? Check all that apply:                                        How much did you pay?
     filling out this application, the
     bankruptcy filing package, or the
     schedules?
                                                      n    An attorney

                                                      I IA bankruptcy petition preparer, paralegal, or typing service
                                                      1 'Someone        else

  18.Have you promised to pay or do -             No
     you expect to pay someone for
     services for your bankruptcy          LIII   Yes. Whom do you expect to pay? Check all that apply:
                                                                                                                                      How much do you
     case?                                            [1] An attorney                                                                 expect to pay?

                                                      FiA bankruptcy petition preparer, paralegal, or typing service
                                                            Someone else -      - --

  15.Has anyone paid someone on                   No
     your behalf for services for this
                                                  Yes. Who was paid on your behalf?               Who paid?                           How much did
     case?
                                                       Check a// that apply:                      Check all that apply:               someone else pay?

                                                      n An attorney                                    Parent

                                                      ri     A bankruptcy petition preparer,
                                                             paralegal, or typing service
                                                                                                        Brother or sister
                                                                                                     . Friend

                                                      ri Someone else                                  Pastor or clergy
                                                                                                       Someone else

  16.Have you filed for bankruptcy                No
     within the last 8 years?
                                           El     Yes. District                                   When
                                                                                                         MM/ DD/ YYYY
                                                                                                                            Case number


                                                       District                                   When                      Case number
                                                                                                         MM/ DD/ YYYY

                                                       District                                   When                      Case number
                                                                                                         MM/ DD/ YYYY

  Part 5:       Sign Below

   By signing here under penalty of perjury, I declare that I cannot afford to pay the filing fee either in full or in installments. I also declare
   that the information I provided in this application is true and correct.


  X           ‘,/ tkit-v1                                X
      Signature of Debtor 1                                   Signature of Debtor 2

      Date        rl        2io2 -‘                           Date
             MM / DD /YYYY                                           MM / DD /YYYY




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